                                    Case 24-10057                 Doc 30          Filed 01/25/24              Page 1 of 2
                                                              United States Bankruptcy Court
                                                                   District of Maryland
In re:                                                                                                                 Case No. 24-10057-LSS
Michael David Duplessie                                                                                                Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0416-0                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Jan 23, 2024                                               Form ID: pdfdbtr                                                           Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 25, 2024:
Recip ID                 Recipient Name and Address
db                     + Michael David Duplessie, 7815 English Way, Bethesda, MD 20817-1966

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 25, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 22, 2024 at the address(es) listed
below:
Name                               Email Address
Laura J. Margulies
                                   trustee@law-margulies.com lmargulies@ecf.axosfs.com


TOTAL: 1
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Entered: January 22nd, 2024
Signed: January 22nd, 2024

SO ORDERED




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Greenbelt
                                   In re:      Case No.: 24−10057 − LSS    Chapter: 7

Michael David Duplessie
Debtor

                                          ORDER DISMISSING CASE
                                FOR FAILURE TO COMPLETE REQUIRED FILINGS
                              AND NOTICE THAT AUTOMATIC STAY IS TERMINATED

By Order of the Court entered January 12, 2024, the Debtor was admonished to file:

              Amended Schedules A/B C D E/F G H I J and Declaration Concerning Debtor's Schedules
              Amended Voluntary Petition
              Statement of Financial Affairs
              Verification of Creditor Matrix
              Other:

The Debtor has failed to comply with said instructions of the Court. It is, therefore, by the United States Bankruptcy
Court for the District of Maryland,

ORDERED, that, pursuant to 11 U.S.C. § 105(a) and § 707(a), the above−captioned case under Chapter 7 is
dismissed; and
ALL PARTIES ARE HEREBY NOTIFIED, that the automatic stay imposed by 11 U.S.C. § 362(a) is terminated.

cc:    Debtor
       Attorney for Debtor − PRO SE
       Case Trustee − Laura J. Margulies
       U.S. Trustee

                                                     End of Order
15x06 (rev. 12/01/2015) − MarkRybczynski
